
37 N.Y.2d 864 (1975)
Helen M. Wehringer, Appellant,
v.
Allen-Stevenson School et al., Respondents.
Court of Appeals of the State of New York.
Argued September 10, 1975.
Decided October 21, 1975.
Cameron K. Wehringer for appellant.
E. Douglas Hamilton, Donald G. McCabe and William C. Bieluch, Jr., for respondents.
Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE concur in memorandum.
*865MEMORANDUM.
The order appealed from should be affirmed, with costs, on the memorandum decision of the Appellate Division. The award of $60 costs and disbursements by the Appellate Division was proper and within its discretion (CPLR 8107, 8203, 8301; see 8 Weinstein-Korn-Miller, NY Civ Prac, pars 8107.04, 8107.05, 8203.03, 8301.03).
Order affirmed.
